ATTACHMENT A

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISS()URI

AFFIDAVIT
l, Russell Ussery1 being first duly sworn, do hereby depose and state the following:

l. Your affiant is a Deportation Officer with the Department of Homeiand
Security, United States lmmigration and Custom Enforcement (ICE). l am presently
assigned to the Springfield, l\/Iissouri, Enforcement and Removal Office. Among my
primary duties as Deportation Officer is the investigation of` illegal aliens currently
located within the United States. l have received training in the area of illegal aliens
reentering the United States and have had the opportunity to participate in separate
investigations involving these criminal violations

2. This affidavit is submitted for the limited purpose of establishing probable
cause that PEDRO LOPEZ-DOl\/IINGUEZ, the defendant herein, committed a violation
of Title 8, United States Code, Section 1326(a). Consequently, this affidavit does not
include every fact known to me.

3. On September 23, 2018, PEDRO LOPEZ-DOMINGUEZ, date of birth,
June 29, 1989, herein referred to as the def`endant, an alien who is a native and citizen of
Mexico, was arrested by the Taney County, Missouri Sherif`f’s Department, for failing to
appear in Barry County, Missouri for driving while intoxicated The defendant Was
booked into the Taney County, Missouri Jail, and then transferred to Barry County,
Missouri the same day. Enforcement and Removal Operations Springfield, l\/Iissouri
Deportation Officer Eril< Hickox was contacted by Barry, County and a telephone
interview was conducted Of`ficer Hickox determined the defendant to be illegally present
in the United States and an [CE detainer was placed. On October 4, 2018, the defendant
was released to Enforcement and Removal Operations Springfield, l\/lissouri. ln custody
the defendant, while under oath admitted to his true and correct name and prior removals
from the United States to Mexico. The defendant’s finger prints were scanned into IAFIS,
(lntegrated Autornated Fingerprint ldentiftcation System)_ This provided a positive
biometric match to PEDRO LOPEZ-DOl\/HNGUEZ, Alien File Number AZOI 074 330.

4. A review of the defendant’s official immigration file revealed that on
April lO, 2014, the defendant became the subject of a final order of removal from the
United States and Was subsequently deported from the United States to Mexico on March
7, 2017, at El Paso, Texas, and again on l\/lay l(), 2018, at Brownsville, Texas.

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5. A review of the defendant’s official immigration file and lmmigration and
Customs Enforcement computer indices indicate no record of the defendant obtaining
permission from the United States Attorney General or the Secretary of the Department
of Homeland Security for admission after deportation

Russell Ussery'/

Deportation Officer

United States lmrnigration and Custom
Enforcement

Further affiant sayeth not.

Sworn and subscribed to before me this ij"‘ day of October, 201 8.

/Qr ?/Z/@

David P. Rush
United States Magistrate Judge

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